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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHOMA

RANDY LUNDY,

Plaintiff,
Case No. 5:22-CV-00699-F

V.

HL MOTOR GROUP, INC.,
HIGHLIGHT MOTOR FREIGHT USA,
INC., OLD REPUBLIC INSURANCE
COMPANY and OGNJEN MILANOVIC,

Defendants.

FARMERS MUTUAL FIRE
INSURANCE COMPANY OF

OKARCHE,
Case No. 5:22-CV-00752-F

Plaintiff,

Vv.

HL MOTOR GROUP, INC., and OGNJEN
MILANOVIC,

Defendants.

AFFIDAVIT OF DAVID J. FLETCHER, M.D.

I, David J. Fletcher, M.D., under penalties as provided by law pursuant to the Federal
Rules of Civil Procedure, certify that the statements set forth herein are true and correct and
that, if called upon to testify in the above-captioned case, I could competently testify to the
following statements based upon my personal knowledge.

l. I am a licensed M.D. and have been so, without interruption, since 1981.

Zs In 1980, I received a M.D. from Rush Medical College in Chicago, Illinois.

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a. In 1982 I received an MPH (Masters in Public Health) from the University of
California, Berkeley, School of Public Health.

4, I am board-certified in the following two American Board of Medical
Specialties (ABMS), Occupational Medicine and Preventive Medicine and Public Health.

os I am also a certified: Medical Review Officer (Drug Testing/Addiction
Medicine); Substance Abuse Professional (SAP); Federal Aviation Administration Senior
Medical Examiner; and, examiner for the National Registry of Certified Medical Examiners
(NRCME) to conduct Commercial Motor Vehicle Medical Exams.

6. Currently, I am the Medical Director and Chief Executive Officer of
SafeWorks IIlinois, a private occupational medicine practice located in Champaign, IIlinois,
where I have admitting privileges at the local hospital OSF Heart of Mary Medical Center
(HMMC).

vi Along with my full-time clinical practice, I also perform medical-legal
consultation and I have been retained by both plaintiffs and defendants throughout the
United States.

8. I have been retained by the defendants in the aforementioned matter to review
the medical records of Defendant, Ognjen Milanovic (“Mr. Milanovic’”’), and offer an opinion
as to the nature and extent of his claimed sudden loss of consciousness resulting in an August
8, 2020 motor vehicle accident (the “accident’”).

9. Mr. Milanovic’s claimed sudden loss of consciousness is a clinical issue that I
have experience with and have performed examinations, diagnosis and treatments in my

clinical practice and medical-legal consultation practice.
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10. All of the following opinions stated herein are based on my experience, review
of post-accident medical records and Mr. Milanovic’s deposition testimony.

11. There are no pre-accident or post-accident medical records showing or
providing any basis that Mr. Milanovic had a pre-existing medical condition that caused the
sudden loss of consciousness.

12. Prior to the accident, Mr. Milanovic had never experienced a syncopal episode,
also known as a loss of consciousness, related to dehydration.

13. Prior to the accident, Mr. Milanovic had never experienced any syncopal
episode.

14. At the time of the accident, Mr. Milanovic was fit and medically qualified to
operate a commercial motor vehicle and had been so for at least 3 years.

15. Atthe time of the accident, Mr. Milanovic had not exceeded the mandatory
hours of service requirements for a commercial truck driver.

16. Atthe time of the accident, there were no drugs or alcohol in Mr. Milanovic’s
system.

17. At the time of the accident, Mr. Milanovic did not have Obstructive Sleep
Apnea (OSA).

18. Atthe time of the accident, Mr. Milanovic was not experiencing any symptoms
that would indicate a problem related to his heart, respiratory or any other body system.

19. There is no evidence that, at the time of the accident, Mr. Milanovic had a

seizure.
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20. At the time of the accident, Mr. Milanovic suddenly and without warning
became unconscious and incapacitated as a result of dehydration at temperatures in excess of
90°F, causing a classic heat-related acute illness and loss of consciousness.

21.  Asaresult of the loss of consciousness, Mr. Milanovic was unable to control
his vehicle, consciously act or have the ability to weigh alternatives regarding the impending
danger of operating a commercial motor vehicle.

22. Symptoms indicating that Mr. Milanovic experienced a sudden loss of
consciousness and incapacitation due to a classic heat-related acute illness included: urine
test results showing a concentrated specific gravity of 1.40; evidence of electrotype
imbalance; low serum potassium and chloride levels; tachycardiac with ventricular rates
greater than 150 b/p/m; elevated blood pressure; and, normal blood glucose levels.

23. Mr. Milanovic’s early discharge from the Emergency Room is also significant
because he did not have a medical condition requiring on-going medical supervision and
monitoring and that the acute effects from dehydration had dissipated upon his receipt of

intravenous fluids and the return to normal of his Glasgow Score showing that he no longer

had an altered mental status.

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David J. Fletcher, M.D.

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